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Reg. No. 5,732,151         Pride Houston, Inc. (TEXAS CORPORATION)
                           P. O. Box 66071
Registered Apr. 23, 2019   Houston, TEXAS 77266

                           CLASS 35: promoting public awareness of the need for diversity and equal rights in our
Int. Cl.: 35               community as well as to commemorate and celebrate the history of the gay and lesbian
                           community
Service Mark
                           FIRST USE 9-1-2009; IN COMMERCE 9-1-2009
Principal Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 4100413

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LGBT PRIDE CELEBRATION"

                           SEC.2(F)

                           SER. NO. 88-077,017, FILED 08-14-2018




                                                                                                     Exhibit 5
